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                                   Attachment B

Operating System
                   Windows 10 Pro 64-bit
             CPU
                   Intel Core i9 7960X @ 2.80GHz
                   Skylake-X 14nm Technology
             RAM
                    128GB Unknown
             Motherboard
                    Gigabyte Technology Co. Ltd. X299 DESIGNARE EX-CF (CPU0)
             Graphics
                    LG ULTRAWIDE (2560x1080@60Hz)
                    3071MB NVIDIA GeForce GTX 1080 Ti (EVGA)
             Storage
                    931GB Samsung SSD 860 EVO 1TB (SATA (SSD))
                    931GB Samsung SSD 860 EVO 1TB (SATA (SSD))
                    65536GB Drobo 5D (USB (SATA) (SSD))
                    476GB NVMe Samsung SSD 960 (RAID (SSD))
                    931GB Samsung SSD 860 EVO 1TB (SATA (SSD))
                    476GB Samsung SSD 960 PRO 512GB (Unknown (SSD))
                    447GB NVMe INTEL SSDPED1D48 (Unknown (SSD))
